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CONSULTING PROJECT

 

PRE-SENTENCE MEMORANDUM

 

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA
-against-

LONG HUI LIN
Docket # 20-Cr-00452-RPK-2

JUDGE RACHEL P. KOVNER

Rachel August Shanies
Assistant United States Attorney

Respectfully submitted,

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June 22, 2021
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EXHIBITS:

1. Demographic and Personal Information
a. Birth Certificate and Translation — Long Hui Lin
b. Mother’s Divorce Judgment of Divorce-February 22, 2012
c. Letter of Pregnancy for wife-Wen Wen Chen
d. Doctor’s letter confirming mother’s medical status-Eric Zhou, M.D

2. Financial Information
a. U.S. Individual Income Tax Return — 2019 and 2020
b. TransUnion Credit Report
3. Letters of Support
a. Xiu Xiang Fang — Mother
b. Zi Liu Zhang — Mother’s Boyfriend
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INTRODUCTION

This pre-sentence memorandum has been prepared by the Consulting Project, a private
mitigation and forensic social work firm that assists defense attorneys with evaluations of
individual clients and cases with a view toward presenting alternative pleas and sentencing
possibilities to the Court and the Unites States Attorney’s Office. This memorandum is
submitted by Reynaldo Cusicanqui, BA and Mandi Budah, MA, LCSW on behalf of Long Hui
Lin, at the request of his attorney, Howard Greenberg, Esq.

Mr. Cusicanqui has worked as a Forensic Mitigation Specialist and Sentencing Advocate
since 1995. Due to his lengthy experience, he has knowledge of psychosocial contributors and
extensive knowledge of criminal behavior derived from evaluating thousands of defendants in
the state and federal court systems. He has also gained most of his forensic experience in
mitigation from being appointed as a Senior Mitigation Specialist on numerous death penalty
eligible matters in the United States District Court for the Southern and Eastern Districts of New
York. I, Mandi Budah have worked as a Licensed Clinical Social Worker since 2012 and
additionally possess a master’s degree in Forensic Psychology, obtained in 2010. With my
knowledge of psychosocial contributors and comprehensive knowledge of criminal behavior
obtained from working with the Consulting Project, I conduct evaluations, prepare Pre-pleading
and Pre-sentence reports for the court, and recommend necessary sentencing alternatives on
criminal matters. It is our specialty to provide the greatest amount of psychosocial background
to the decision-making parties. This ultimately allows us to enhance the appropriate
classification of a defendant that is a risk to the community or a defendant that is deserving of a

just and appropriate disposition that will ultimately promote respect for the law and hold the
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defendant accountable for his actions, by participating in specific recommended treatment plans,
which in turn can prevent recidivism.

The information in this memorandum is based one in person interview at Mr. Lin’s home
in Brooklyn, NY and multiple video and telephone conferences, as well as an in-person interview
with his mother at her home in Queens, Xiu Xiang Fang and telephone interviews with his
fiancé, Wen Wen Chen (Ivy) and cousin, Zhi Xiang Lin (Tommy). Mr. Zhi Xiang Lin was
present for all correspondences for translation. During his clinical assessment, Mr. Lin presented
with poor self-concept and low emotional availability. He displayed symptoms consistent with a
history of trauma, a substance use disorder, and presented with multiple adverse experiences
which markedly impacted his development and identity formation. These experiences
additionally may have precipitated unbalanced emotional states and compromised judgment and
decision-making.

In presenting this memorandum, we wish to highlight certain contributing mitigating
factors that we believe promote a just and appropriate sentence and respectfully recommend that
Mr. Lin be sentenced to a disposition that is no greater than necessary. These mitigating factors

are:

- Significant childhood adversity including poverty, parental separation, and lack of
parental support, guidance, modeling and emotional availability.

- Childhood adversity resulted in development of emotion regulatory problems,
undermining social development, and increasing risk for later lapses in judgment and

poor decision making.
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- Mr. Lin lacked a positive male role model during major developmental stages, as his
father was absent during critical stages that contribute to healthy emotional
understanding, which in adulthood led to poor insight and compromising solutions.

- Mr. Lin immigrated to the United States during adolescence, a critical developmental
stage, without the skills, language, resources, and support needed for successful
integration into a completely different society and culture.

- Mr. Lin was a witness to domestic violence during adolescence; his father struggled
with alcohol abuse and gambling disorders.

- Unbalanced emotional states led to a maladaptive response to stress, including
substance use and lifestyle instability.

- Mr. Lin has expressed remorse for his actions and is capable of redemption.

- There is no previous involvement with the criminal justice system.

- Mr. Lin is the primary financial provider for his pregnant fiancé and infant son.

- He has re-established emotional ties with his biological mother and his stepfather.

BIOPSYCHOSOCIAL HISTORY

Mr. Long Hui Lin was born without complication in Fuzhou, Fujian Province of
Communist China, on March 31, 1995 to the marital union of Zhao Xiang Lin (50) and Xiu
Xiang Fang (49) (see attached translated Birth Certificate as Exhibit la). His father left to the
United States prior to his 2™ birthday. He and his mother reported they lived in very poor
conditions and attempted to survive economically, with limited food and water (see Mr. Lin’s

mother’s letter attached as Exhibit 3a). He is the only child born to his parents union.
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Mr. Lin described a difficult childhood growing up in China. He reported his parents met
while working in the cafeteria of the same factory. They formed a relationship before getting
married in 1993 (his mother reports they were married in 1995). When Mr. Lin was about | year
of age, his father immigrated to the United States, leaving him to grow up without paternal
emotional support. positive influence, or developmental guidance.

When Mr. Lin was 4 years of age, his father applied for a visa for him and his mother, but
due to multiple errors in paperwork, they were not granted their visa. He described that his
mother struggled financially, and his father was not providing any financial support to assist him
and his mother economically. Mr. Lin was enrolled in a government sponsored boarding school
at the age of 5, where he resided on campus Monday through Friday, and returned home to his
mother on the weekends'. He described his mother had to work to support herself and was
unable to also be present and provide for Mr. Lin. When he first arrived at boarding school, he
remembered crying everyday and waiting at the door each afternoon, hoping his mother would
come to pick him up. For approximately one month, Mr. Lin waited each afternoon for his
mother, but she would arrive very late, due to her long hours at work, something that contributed
to his emotional ties with his mother in later stages. Mr. Lin reported witnessing physical abuse
while in boarding school, but reported he was a good student, maintained a 100 average, and did
not endure any abusive experiences. He shared the Chinese culture places extreme emphasis and
pressure on young children to excel in education, respect elders, and to perform as they are told.
He was unable to recall any specific details of being home with his mother on the weekends, but
stated, “it was better than school.” Mr. Lin remained at his boarding school until he immigrated

to the United States in 2009.

 

* Boarding Schools in China-
https://www.k12academics.com/Education%20 Worldwide/Education%20in%20China/boarding-schools-china

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Mr. Lin reported he always knew he would immigrate to the United States, he was just
unsure when. His mother had always hoped for her and her son to immigrate to the United
States, to have a better life and with hopes her son could prosper in a democratic country. After
their initial paperwork was processed with multiple errors in 1999, he reported it took 10 years
before their documents were officially approved and visas were obtained. Mr. Lin recalled
studying “hard” in China, hoping he would have an “easier experience” here in the United States.

Mr. Lin presently has a very close relationship with his mother. He reported that she
depends on him and stated, “I am all that she has.” Ms. Fang never remarried, but resides with

her boyfriend, Zi Liu Zhang, who is fond of Mr. Lin (see attached Exhibit 3b)).

COLLATERAL INTERVIEW WITH XIU XIANG FANG

Ms. Fang is the mother to Mr. Lin. She proudly reported that she became a U.S citizen on
June 29, 2018. During her collateral interview, she reported she was born on September 3, 1971
in China. She described there was no hospital in the city where she lived and she is the youngest
of three siblings, all of whom still reside in China. Ms. Fang reported being close with her
siblings and they communicate via telephone. They are unaware of her son’s arrest and stated,
“if they found out, it would be a stigma.”

Ms. Fang described growing up in “poor” conditions under Communism rule, where
there was no electricity and only water and a bathroom outside the home. At the age of 18, in
1989, Ms. Fang met Zhao Xiang Lin, Mr. Lin’s father. He was 20 years of age at the time and
the two met working in the cafeteria of the construction company they were both employed at.
They were mandated by the company they worked for to be married after the age of 24, so the

pair married when Ms. Fang was 24. Initially, she reported she was unable to live with her
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husband. but she later lived in a unit (like a dorm) from her company, which she described as
similar to a bonus. She described it was one room, with no kitchen or bathroom, They used the
cafeteria for meals and the bathroom. She did report that if they were not compliant with the
company, they could be fired or evicted from their living quarters. Shortly after marriage, Ms.
Fang gave birth to her son, who also resided in the company’s dorm.

Ms. Fang described a “good marriage” in the beginning, but in 1996 Mr. Lin immigrated
to the United States. She reported they planned to go as a family, however their son’s birth
certificate was not legible due to it being handwritten; therefore, they were unable to provide all
necessary documents for their applications. Ms. Fang and her son remained in ihevcompany's
living quarters and struggled financially.

Ms. Fang reported due to her dire financial situation, she was forced to send her son to
boarding school, as she could not afford to care for him, nor did she have enough time to devote
to him. Mr. Lin attended boarding school Monday through Friday beginning in Kindergarten
through the time he immigrated to the United States with his mother in 2009. Ms. Fang reported
her son was an exceptional student in China, with no academic or behavioral issues. Ms. Fang
described a difficult 13 years being separated from her husband. Not only did she struggle
herself. but her husband never came to visit, despite having the ability to do so, and he never sent
his wife and son money. She reported he became involved in gambling in the United States and
commenced another relationship.

In 2009, after 13 years of being separated, Ms. Fang and her son came to the United
States with the hope of reuniting with Mr. Lin’s father and to pursue better economic
opportunities. Ms. Fang and her son resided in Chinatown, New York and lived in various

family members’ restaurants. For several months they slept on chairs. Ms. Fang reported she
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had no money, and she was not working. She learned her husband had had an affair and he was
not helping to support her and her son. Several months later, Ms. Fang reportedly found
someone who allowed her and her son to sleep in the living room. Ms. Fang worked in various
restaurants in Chinatown and earned approximately $1,300 per month. Ms. Fang reported
despite her husband’s lack of support, he came to visit them often; however, he was physically
abusive towards her, something her son witnessed. Ms. Fang filed for divorce, which was
granted on April 11, 2012 (see attached Judgment of Divorce as Exhibit 1b)

Ms. Fang and her son struggled to assimilate to his new environment and were deeply
affected by the absence of his father. He did not speak often, and he had no friends. He began
school in the 9" grade and Ms. Fang was informed by the school that her son was not
communicating with others. After several months, Ms. Fang reported his experience improved.
He met some friends he enjoyed playing basketball with and he helped his mother at her
restaurant. Mr. Lin did not finish high school and at the age of 18, he met a girlfriend, who is
now his wife and moved in with her. He has not lived with her since.

Ms. Fang met her boyfriend Zi Liu Zhang (57), shortly after she filed for a divorce from
Mr. Lin’s father. She reported Mr. Zhang is employed trading stocks and owns a rental property.
He owns a home in Queens and children from a prior relationship, his daughter (20), and son
(30) also reside with him. Ms. Fang reportedly lost her job, working in a restaurant as a waitress,
in 2020 due to the COVID-19 pandemic and moved into her boyfriend’s home.

Ms. Fang reported her son visits her and she also maintains a good relationship with his
fiancé’s family. She expressed her concern if her son is sentenced to a period of incarceration.
She reported she may have to return to work to assist Ms. Chen and her children financially and

would also offer them a place to live with her and her boyfriend.
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Ms. Fang added that going back to work would be difficult due to her medical health. She
reported that after many years of working in restaurants, she suffers from chronic back and
shoulder pain (see Physicians letter attached as Exhibit Id). She currently takes the following

medications: Naproxen, 500mg 2x daily and Gabapentin, 300mg at bedtime.

ARRIVAL IN THE UNITED STATES AND EXTREME HARDSHIPS

Mr. Lin described an incredibly difficult transition and acculturation period after
immigrating to the United States. He reported his father was unhelpful and not supportive
(emotionally and financially) and did not provide Mr. Lin and his mother a place to live. For
several months. Mr. Lin and his mother slept in a relative’s restaurant, on chairs, in Downtown
Manhattan. He reported sometimes he and his mother would sleep at a relative’s house for one
night. Three months after immigrating, Ms. Fang found a room that she and her son shared. He
remembered having enough food to eat and appropriate clothing for each season, but that was all.
Ms. Fang eventually found a job for very limited income in a restaurant. Mr. Lin reported
though his father had his own apartment with his girlfriend, he would come to see Mr. Lin and
his mother often. He struggled with alcoholism and a gambling disorder and became physically
abusive towards Ms. Fang, when intoxicated. Mr. Lin witnessed his father physically abuse his
mother for approximately 6 months. His mother filed for divorce “a few years” after she
immigrated to the United Stated. The divorce submitted by Ms. Fang, index # 315292/2011, was
“dissolved” due to “the relationship between Plaintiff and Defendant has broken down
irretrievably for a period of at least 6 months”. The divorce settlement also rendered a child
support of $25.00 a month payment by his father and the directive for an application for health

insurance for Mr. Long Hui Lin (see attached Exhibit 1d).

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Without his father’s support, Mr. Lin became increasingly resentful, angry, and
unmotivated. He attended the University Neighborhood High School, a school ranked 486 out of
520 high schools in NYC, where he struggled to assimilate’. He did not know the English
language, he did not have any friends, he did not have a stable home, his mother was working
very long hours, he was lonely, and felt he had no one to talk to. He reported working hard in
China to eventually help his father here in the United States. However, he reported his father
“wanted nothing to do with [him],” which contributed to Mr. Lin’s loss of motivation and self-

esteem. Mr. Lin did not graduate high school and completed through the 1 ys

grade.

At the age of 18, Mr. Lin believed he was becoming a burden to his mother, who was
already suffering and struggling financially, so he decided to move out and support himself. He
never maintained a stable residence on his own, but spent several days at a friend’s house, before
spending another several days at another friend’s house. Mr. Lin was unemployed and relied on
his friends for all of his needs. At the age of 20, he relocated to West Virginia for three months,
to learn the Hibachi style of cooking, in exchange for room and board. He admitted to not
enjoying the lifestyle in West Virginia and returned to Brooklyn, where he obtained employment
in several restaurants in Manhattan.

From the age of 18-24, Mr. Lin has lacked steady employment as well as a stable
residence and no guidance of emotional support. He resided with friends for several days at a
time and relied on them for food and transportation. He also briefly resided with a girlfriend in
Brooklyn. When he was working, he often was paid in cash, or traded work for room and board.

He reported his mother has helped him financially, and more recently, his fiancé’s family has

helped support him and his family.

 

2 https://www.usnews.com/education/best-high-schools/new-york/districts/new-york-city-public-schools/university-
neighborhood-high-school-13059

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Mr. Lin is currently in a relationship with Wen Wen Chen (26), and they have a son Lin
Elson (1.5) and a second child due to be born on December 13, 2021. Mr. Lin currently resides
at rented apartment at 1223 78" Street, on the first floor, in Brooklyn, New York. Mr. Lin
moved into his current apartment with his fiancé in July 2020. He reported that he presently

relies on his wife’s family to assist him with payment of the rent.

COLLATERAL INTERVIEW WITH WEN WEN CHEN

Ms. Chen was born in Taisan City, China where her parents owned an electronics store.
She described an “average” family and reported she did well in school. She immigrated to the
United States in 2013 with her mother, father, and brother, and her family settled in Brooklyn.
She reported coming to the United States to complete high school, but struggled, as she was
older than her peers and was not proficient in the English language. She resided with her family
in Brooklyn and her parents secured employment in a watch company factory. Ms. Chen
reported being grateful she did not need to work while attending high school.

Ms. Chen did not complete high school and at the age of 19, dropped out as a sophomore.
She continued living with her family in Brooklyn and obtained employment in a dessert store.
She moved out of the family home at the age of 23 and lived with her friends for one year before
meeting Mr. Lin in 2018 at a wedding party. After a short courtship, they decided to reside
together.

Ms. Chen described a “normal” relationship with Mr. Lin and reported going to dinner
and a movie is her favorite thing they do together. The pair began dating and she became
pregnant less than one year of the pair being together. Though the pregnancy was not planned,

both were excited to welcome their infant son. She denied significant relationship challenges

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and reported her priorities and focus changed after giving birth to her son on December 2019;
ironically they were able to spend significant and special time together as a family as a result of
the COVID-19 pandemic. Ms. Chen reported a healthy pregnancy and denied all complications.
She reported her son had an allergy to her breast milk and required special formula and frequent
feedings, which her husband assisted with. She described Mr. Lin is very supportive and caring
as a partner and father and makes himself available for every appointment. She admitted that she
became more family-oriented and committed to their relationship and their family.

Prior to learning she was pregnant for a second time (see attached Exhibit 1c), Ms. Chen
was able to return to work in a restaurant in Chinatown. Due to the unknown effects of COVID-
19 on a pregnant woman, she stopped working to remain safe and healthy. It was also because it
is expected and encouraged in Chinese culture that a woman stays home while pregnant.° Mr.
Lin and Ms. Chen were engaged in 2020 and their plans to marry were put on hold due to the
city clerk’s office being closed during the COVID-19 pandemic. Mr. Lin described his
relationship with Ms. Chen as “supportive and very good.” He reported they communicate
openly with one another and make difficult decisions together. He is grateful for her family, who
has been assisting them financially. Ms. Chen’s mother, Yue Ping Huang was previously
diagnosed with a serious ailment and is unable to work, but her family is still able to assist them
with limited financial resources (Medical Records can be made available upon request). Mr. Lin
maintains a strong relationship parent’s in law and they participate in rearing the child. He

reported they are there to care for him, spend time with him, and play with him, but would be

 

* There are many traditional Chinese pregnancy restrictions to protect the child from “malign influences” and to
avoid the problems associated with pregnancy and birth, such as miscarriage, stillbirth, death of the mother, and
imperfections in the newborn. The basic concepts of these restrictions come from the notion of yin and yang, the
Taoist philosophy of one’s harmony with the universe. There is great emphasis on dietary and behavioral
restrictions to restore physical and emotional harmony, including limitations on strenuous and physical work.
Retrieved from https://www.sciencedirect.com/science/article/pii/S 1976131712000060

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unable to have their daughter live with them, specifically since they have limited space at home
and she is pregnant with a second child.

Ms. Chen is worried about the outcome of Mr. Lin’s sentencing. She is currently
pregnant with their second child and is due in December of this year. The pregnancy was
unplanned and at first had serious concerns about how they will now have to deal with two
children to take care of. She is worried if he is sentenced to a period of incarceration, she will be
alone in the home with two small children and no income, as he is the primary and sole financial
provider. In addition, Ms. Chen will be required to “sit in” and “do the month,” a Chinese
pregnancy tradition characterized by a structured month of rest following childbirth.* She
reported her parents live approximately 20 minutes away, but her mother is recovering from
breast cancer surgery and her father was recently in a car accident; therefore, they will not be
available to assist her with as many things as she will need. Mr. Lin’s mother currently resides
on border of Queens and Long Island and is currently in physical therapy for shoulder and back
issues, indicating she is not in optimal health (See Medical Records and physician’s letter

attached as Exhibit).

RELATIONSHIPS WITH EXTENDED FAMILY

Mr. Lin’s cousin, Lin Zhi Xiang, also known as Tommy. was born in Hong Kong and
came to the United States in 2003. Mr. Lin did not meet Tommy until he came to the United
States in 2009. He is a paternal second cousin who was living upstate, New York at the time Mr.

Lin immigrated. He visited New York City on school breaks. Tommy reported he and Mr. Lin

 

4 For thousands of years, new mothers take part in the Chinese tradition of “doing the month” or “sitting in.” The
act is also known as “postnatal confinement” whereby for the first 30-40 days after birth, the mother does not leave
home, entertain visitors or shower. In addition, she may be required to eat or avoid certain foods, minimize activity
and exercise, avoid wind, avoid climbing stairs, and refrain from watching television. Retrieved from https://Itl-
taiwan.com/chinese-pregnancy-traditions/

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would spend time together in the local park and explore Chinatown with one another. He
described they have a “special bond” as Tommy also grew up without a father. He stated, “I
understand his situation and the difficulties he is facing.” Tommy is an entrepreneur and owns a
successful company that rebuilds homes and then places them on the real estate market. He has

committed himself to assist Mr. Lin in moving forward and be supportive.

EDUCATIONAL AND EMPLOYMENT HISTORY

Mr. Lin attended a boarding school in China from the age of 5 through 15, until he
immigrated to the United States in 2009. He denied educational and behavioral difficulty and
reported a 100 average. He attended the University Neighborhood High School in Manhattan,
repeating the 9" grade due to his lack of English proficiency. He reportedly was not successful
in school and progressively lost motivation to attend classes and complete his education. He
discontinued his formal education after completing the 11" grade in high school.

Mr. Lin reported a minimal work history in the United States, until the age of 20, when
he relocated to West Virginia to learn the Hibachi style of cooking. He returned to Manhattan
after three months and maintained employment in various restaurants. Mr. Lin lost his
employment during the COVID-19 pandemic in March 2020. He traveled upstate New York, to
work in a friend’s restaurant, but returned home shortly thereafter. He remained unemployed
and was arrested in August 2020. After the arresting incident, Mr. Lin was unemployed for a
period, before being approved by pretrial services to obtain a job. Since December 2020, he has

been employed as a cashier at a spa in Brooklyn, where he works Monday through Friday from

2:00PM — 9:00PM and earns $15 per hour.

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Mr. Lin has goals to pursue construction and real estate and follow in the footsteps of his
cousin. His primary goal is to provide for his family and continue working at the spa until he

gains enough experience to transition to a career.

ALCOHOL AND SUBSTANCE USE HISTORY

Mr, Lin reported a history of substance use commencing at age 21. Prior to that age he
denied use and experimentation with opiates, marijuana, cocaine, amphetamines, and
benzodiazepines. He reported minimal alcohol use, in social settings. He reported use of
Ketamine for the first time at the age of 21, as he was going through stress and some anxiety that
related to lack of employment, when he was introduced to Ketamine by friends at a party. He
reported when using Ketamine, “all [his] problems go away.” He reported weekly use of
Ketamine from 2016 through 2018: he discontinued using when his fiancé was pregnant with
their first child. Prior to his arrest for the instant offense, he reported use on one occasion. He
denied a history of substance use treatment. He has expressed an interested in counseling to deal
with the contributors of his prior drug use and supporting his abstinence.

Ketamine, a unique psychoactive substance, produces effects of dissociative anesthesia
and analgesia at clinical doses; however, at recreational doses of sub-anesthetic levels, it could
produce a psychedelic experience of incredible intensity. Hence, ketamine has emerged as a
recreational drug in nightclubs and the prevalence of ketamine uses is increasing worldwide.
Short-term exposures to ketamine at sub-anesthetic doses have been observed to produce
impairments of cognitive functions and perceptual alternations, impaired visions, delusions,
depersonalization and derealization in healthy individuals and long-term exposure has been

linked to cell death in the prefrontal cortex and significant impairment and disruption in multiple

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brain structures, regions and functions, including overall decreased brain volume.’ Ketamine
users consistently show worse performance in self-reported impulsivity and antisocial traits
when compared to non-ketamine users.° The prefrontal cortex (PFC) has been the focus of
investigations in drug use. The PFC is responsible for our highest-order cognitive and executive
processes, and regulates our thoughts, actions, and emotions through extensive connections with
other brain regions. These abilities depend on proper PFC neuronal network connections, which
are sensitive to their neurochemical environment. Ketamine use disrupts the neurochemical

environment of the PFC,’ thereby impacting cognitive and executive function.

LEGAL HISTORY

Mr. Lin has no previous involvement in the criminal justice system.

MEDICAL AND PHYSICAL HEALTH HISTORY
Mr. Lin denied a significant medical history including illness, disease, surgery, or

hospitalization.

MENTAL HEALTH HISTORY

Mr. Lin reported a history of nightmares and difficulty sleeping as a child, as a result of
witnessing domestic violence and residential instability. He additionally reported a period where
he lacked motivation, specifically after he immigrated to the United States and learned that his

father was “not who he thought he was.” Mr. Lin denied a history of mental health treatment or

 

> Sun. L., Li, Q., Zhang, Y.. Liu, D., Jiang, H., Pan, F. & Yew, D.T, (2012). Chronic ketamine exposure induces permanent impairment of brain
functions in adolescent cynomolgus monkeys, Addiction Biology, 19, 185-194.

* Zeng, H.. Su, D., Jiang, X., Zhu, L, & Ye, H. (2016). The similarities and differences in impulsivity and cognitive ability among ketamine,
methadone, and non-drug users, Psychiatry Research, 243, \09-114.

* Sun, L., Li, Q., Zhang, Y., Liu, D., Jiang, H., Pan, F. & Yew, D-T. (2012), Chronic ketamine exposure induces permanent impairment of brain
functions in adolescent cynomolgus monkeys, Addiction Biology, 19, 185-194.

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use of psychotropic medications. It is important to note that Mr. Lin’s substance use may be
used as a means of coping with distressing symptoms for which he is unable to identify. A full
psychiatric evaluation would be recommended to determine the severity of any underlying
symptoms of distress.

Presently he denied a history of symptoms as an adult that are consistent with
diagnosable mental illness. He denied experiencing mood or affect indicative of persistent
mental illness, personality or thought disorder. He denied feelings of sadness, anger, frustration,
irritability, loneliness, and somatic complaints. He denied all high-risk symptoms including
suicidality and homicidality. But most recently he has found himself lacking energy and feeling
anxious and depressed due to his legal situation and the potential outcome if he is incarcerated

and then leaves his wife alone with two children.

CLINICAL ASSESSMENT

Long Hui Lin is a 26-year-old single, Asian male born in China. He presented in first
session as appropriately dressed was well groomed, of average height and stature and displayed
appropriate eye contact. He demonstrated flat affect and apathetic mood, with a cooperative
demeanor and displayed appropriate behavior. In additional interviews conducted via video
conference and phone, he spoke at a typical rate of speech with clear sound and average intensity
of volume and responses were translated via interpreter. Psychomotor behaviors were within
normal limits and no abnormal movements were noted. He presented with adequate attention
and concentration. His memory appeared intact, but it was difficult to obtain significant details
of life events, possibly due to a language or cultural barrier. He demonstrated intellectual

awareness and limited emotional insight into his current situation. His thoughts were consistent

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with reality and there is no evidence of a thought disorder. He denied all active high-risk
symptoms including suicidal and homicidal ideation, intent, and plan.

It is with conviction that we believe Mr. Lin is suffering the effects of adverse childhood
experiences and significant developmental disruption and affecting his global reasoning. His
experiences have directly influenced his social and emotional development which has led to
functional changes in the brain, influencing later decision-making skills, cognitive processing
ability and levels of distress tolerance. From a young age, he has struggled with meager
emotional and economical resources and difficulty in affect modulation and developed a
maladaptive set of coping and problem-solving skills to manage the pain associated with
negative experiences in major developmental stages leading to adulthood.

Children raised in high-stress environments, who experience limited socio-economic
resources which limited the most common necessities and are subject to high levels of family
conflict and negative relationships with parents and who are later exposed to delinquent peers as
adults, often develop abnormally and exhibit problem behaviors that are destructive to
themselves and others.* Children from disrupted families are also at increased risk of antisocial
behavior and delinquency compared to children from intact homes,

In the case of Mr. Lin, his father left him and his mother when he was 1.5 years of age.
Father-child interactions are not only critical during the first few years of development but are
primarily responsible for shaping children’s adaptive socio-emotional development.” Father
absence is a contributing factor to the poorer well-being of children and related to decreased

cognitive ability and development, poor social adjustment and increased risk in delinquency.”

 

* Chaffin, M., Berliner, L., Block, R.. Johnson, T. C., Friedrich, W. N., Louis, D. G., ... & Madden, C. (2008). Report of the ATSA task force on
children with sexual behavior problems. Child Maltreatment, 13(2), 199-218.

° Easterbrooks, M.A., Raksin, M., MeBrian, S.F, (2014). Father involvement and toddlers* behavior regulation: evidence from a high social risk
sample. Fathering, 12(1), 71-93,

" Flouri, E. & Buchanan, A. (2003). The role of father involvement in children’s later mental health. Journal of Adolescence, 26, 63-78.

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The absence of a father relationship additionally impacts an adolescent’s ability to make sound
decisions. as in the instant matter of Mr. Lin, as well as triggers negative reactions to outside
stimuli. Emotional development is stunted, and the successful development and utilization of
healthy coping skills is restricted.!' Mr, Lin has no memory of the first 1.5 years of his life
before his father left. He and his mother struggled financially with very few outlets or resources.
Living in a communist society also limited the necessary resources to gain social stability.

The absence of his father, as an only child contributed to limited emotional growth and
created low-self esteem, which in turn created poor decision making. When he was reunited with
his father at the age of 15, he had already built a new life, one that did not include his son. This
exclusion greatly affected his identity and role as a young male with a mother who was in need
and in economical instability. When he reunited with his father their time together was sporadic,
unsupportive, and abusive in nature. Relationships were fractured, attachments were strained,
and tensions and conflict were high, all having an adverse effect on his development. He
ultimately lost motivation to succeed and embarked on a path of disruption and instability,
lacking the skills, resources and motivation needed to obtain employment and his own stable
residence. Biological research has recently shown that early childhood adversity is associated
with neural, endocrine, immune, metabolic, and gut microbial effects.'? Extensive childhood
adversity is linked to impairments in executive functioning, emotion regulation, social
functioning, reward processing and stress regulation.

Growing up in a chaotic environment was normalized for Mr. Lin, something he

paralleled as he grew older. When he learned he lacked the skills and resources needed to

 

'! Elouri, E. & Buchanan, A. (2003). The role of father involvement in children’s later mental health. Journal of Adolescence, 26, 63-78.
" Berens, A.E., Jensen, S.K.G, & Nelson, C.A. (2017). Biological embedding of childhood adversity: from physiological mechanisms to clinical
implications. BMC Medicine, 15, 135-147,

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succeed, he found a sense of safety and security in an environment where emotional expression
was unnecessary for success, belonging or acceptance.

Research has documented stress as “an experience denoting adversity.”'? According to
research, the stress response is based on the prior emotional state of the individual.'* Meaning,
an unbalanced prior emotional state is more likely to precipitate a more maladaptive response to
stress, impacting judgment and decision-making skills. Mr. Lin displayed a long history of
unbalanced emotional states due to his childhood and early development, increasing his
vulnerability to later maladaptive responses to stress, including substance use and his behavior
involved in the instant offense. A lack of prosocial coping skills prevents an individual from
successfully dealing with the stressors associated with everyday living, but further inhibits
coping with the increasing stresses associated with a lack of self-esteem, developmental
disruption, and lifestyle instability.

The harmful effects of childhood and adolescent adversity on a number of physical and
emotional health related outcomes are well established. Childhood and adolescent adversities
include difficult, stressful, or traumatic life experiences.” For Mr. Lin, his father’s absence,
growing up in poverty, and in a single-parent household, developmental disruption, immigration
experience which created challenging assimilation to the community, society and his peers,
homelessness with his mother, who was considered his main familial support, and witnessing
domestic violence represent significant adversity. Adverse childhood experiences have been

shown to be associated with later poorer physical and general health, and more recently,

 

'’ Keyes, K.M., Hatzenbuehler, M.L, & Hasin, D.S. (2011). Stressful life experiences, alcohol consumption, and alcohol use disorders: the
epidemiologic evidence for four main types of stressors. Psychopharmacology, 218, pp.2.

'4 Sinha, R. (2001). How does stress increase risk of drug abuse and relapse? Psychopharmacology, 158(4), 343-359.

’ Wolitzky-Taylor, K., Sewart, A.. Vrshek-Schallhorn, S., Zinbarg, R., Mineka, S., Hammen, C., Bobova, L., et al. (2017). The effects of
childhood and adolescent adversity on substance use disorders and poor health in early adulthood. Journal of Youth and Adolescence, 46, 15-27.

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® and

emotional health as well as an elevated prevalence of substance use problems!
delinquency."” Childhood adversity may lead to the development of risk-taking behaviors,
including substance use and delinquency.'® In adulthood these characteristics are super imposed
due to developing life circumstances, such as establishing a relationship, leading to marriage and
children, which all require planning in many phases, which include economic and emotional
support.

Toxic stress in childhood is associated with structural changes in the brain, causing
affective and behavioral dysregulation and impaired cognitive functioning.'” When faced with
physical or psychological threats in the environment, the body and mind respond both
biologically and cognitively to cope and adapt. Early traumagenic environments can create an
overproduction of stress-related hormones associated with hyperarousal, which then hinders the
growth and connection of neurons.” These neurological changes have lifelong consequences
related to emotional management, social attachment, and cognitive processing, and often
provoke the adoption of high-risk behaviors as coping strategies.”! For Mr. Lin, both his
substance use and involvement in the instant offense reflect high-risk behaviors, primarily due to
his abnormal human development as a whole. When children grow up in homes with repeated

exposure to physical or psychological threats, they are prone to neurobiological alterations as the

mind and body seek to respond to and manage danger in the environment.” As the brain

 

' Wolitzky-Taylor, K., Sewart, A.. Vrshek-Schallhorn, S., Zinbarg, R.. Mineka, S.. Hammen, C., Bobova, L., et al. (2017). The effects of
childhood and adolescent adversity on substance use disorders and poor health in early adulthood. Journal of Youth and Adolescence, 46, 15-27.
" Brown, S.M. & Shillington, A.M. (2017), Childhood adversity and the risk of substance use and delinquency: The role of protective adult
relationships. Child Abuse and Neglect, 63, 211-221.

'§ Brown, S.M, & Shillington, A.M, (2017). Childhood adversity and the risk of substance use and delinquency: The role of protective adult
relationships, Child Abuse and Neglect, 63, 211-221.

! Levenson, J. & Grady, M. (2015). Childhood adversity, substance abuse and violence: Implications for trauma-informed social work practice
Journal of Social Work Practice in the Addictions, 16, 24-45.

2 Levenson, J. & Grady, M. (2015). Childhood adversity, substance abuse and violence: Implications for trauma-informed social work practice.
Journal of Social Work Practice in the Addictions, 16, 24-45.

"Levenson, J. & Grady, M. (2015). Childhood adversity, substance abuse and violence: Implications for trauma-informed social work practice.
Journal of Social Work Practice in the Addictions, 16, 24-45.

? 1 evenson, J, & Grady, M. (2015). Childhood adversity, substance abuse and violence: Implications for trauma-informed social work practice.
Journal of Social Work Practice in the Addictions, 16, 24-45.

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changes because of hyperarousal, a maltreated child’s capacity to regulate emotion and behavior,
and maintain a cohesive sense of self are compromised,” as in the case of Mr. Lin and his
adoption of high-risk behaviors and lifestyle instability. When children are faced with multiple
and repeated stressors, their capacity to cope effectively might be compromised, leading to
innumerable consequences across the lifespan."

The long-term effects of childhood trauma include alterations in stress systems.
Childhood maltreatment has been linked to permanent alteration of the hypothalamic-pituitary-
adrenal (HPA) axis with damaging effects on the developing brain which may lead to behavioral
problems later in life. Childhood trauma interferes with stress-regulatory genes resulting in poor
decision-making performance, specifically in transitional stages in life. Early life stress can
induce persistent changes in stress neurotransmitters and the serotonin system. Both are crucial
for correct decision-making. Early adversity impairs the normal development of these
biochemical pathways and consequently leads to altered decision-making.”

The accumulation of multiple stressors beginning in early childhood has prevented Mr.
Lin from developing, learning and applying emotion regulation and coping skills needed for
successful development and decision-making as a young adult entering into complex part of life,
which is having a relationship, getting married and then having children. New stressors
combined with his previous lifetime exposure to stressors and negative life events for which he

never successfully coped, created significant negative decisions which resulted in the current

arresting incident.

 

** Levenson, J. & Grady, M. (2015). Childhood adversity, substance abuse and violence: Implications for trauma-informed social work practice.
Journal of Social Work Practice in the Addictions, 16, 24-45.

** Levenson, J. & Grady, M. (2015), Childhood adversity, substance abuse and violence: Implications for trauma-informed social work practice.
Journal of Social Work Practice in the Addictions, \6, 24-45.

** Guillaume, S. Perroud, N., Jollant, F., Jaussent, |, Olie, E., Malafosse, A. & Courtet, P, (2013). HPA axis genes may modulate the effect of
childhood adversities on decision-making in suicide attempters. Journal of Psychiatric Research, 47, 259-265.

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SENTENCING RECOMMENDATIONS

It is evident that Mr. Lin has struggled with positive identity formation as a result of early
childhood experiences, his father’s absence, growing up in poverty and in a single-parent
household, developmental disruption, poor immigration experience, sporadic homelessness, and
witnessing domestic violence at a young age. He has endured a series of negative experiences
throughout his development, suffering significant psychological consequences. Nevertheless,
Mr. Lin is committed to bettering himself and his life beginning with taking accountability and
responsibility for his actions. He has accepted the fact that he needs treatment for substance use,
classes on parenting and also formal therapy that can assist him with dealing with future anxiety
due to life stressors. Our office can facilitate a treatment plan and recommended providers or
assist the U.S. Department of Probation in formalizing a referral to the appropriate services.

As a repercussion of long and short term incarceration, children often suffer significantly
when parents are removed from the home. Studies have shown that some children of
incarcerated men experience significant psychological stress and acting-out behaviors following

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their father’s incarceration.”°

The most commonly cited adverse reactions include internalizing
behaviors such as depression and difficulty forming attachments as well as externalizing
behaviors such as aggression and delinquent activity. Moreover, children of incarcerated parents
exhibit difficulty sleeping and concentrating, have little to no emotional support, may withdraw
emotionally from school, engage in truancy, drug use, early pregnancy and diminished academic

performance.”’ Additionally, children may internalize social norms following their father’s

incarceration and changes in parental working conditions are known to affect children’s social

 

* Balthazar, M.L. & King, L. (2001). The loss of protective effects of relationships on incarcerated African American men: implications for
social work, Journal of African American Men, 6(1), 31-41.

>? Miller, K.M. (2006). The impact of parental incarceration on children: an emerging need for effective interventions. Child and Adolescent
Social Work Journal, 23(4), 472-486.

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adjustment.”* Lastly, children with parents in prison are 5-6 times more at-risk to become
involved in the criminal justice system.” Mr. Lin is the father to a young son and his fiancé is
currently pregnant with their second child and a period of incarceration will only increase the
propensity for challenges and adversity for them. In addition, Mr. Lin is currently the sole
financial provider for the family, and should he be sentenced to incarceration, Ms. Chen will
experience significant challenges providing economic and emotional support/care for their
children in pinnacle infant stages, which would be similar to Mr. Lin’s biopsychosocial history.

Research has indicated that incarceration not only has a psychological effect on the
offender and family, but a great economic effect, specifically a permanent impact on the
offender’s earning potential. Studies have documented that suffering a conviction and
imprisonment has a permanent impact on earning potential, diminishing men’s earnings by up to
30 percent even long after leaving prison. This has the potential to lead to increased stress and
financial difficulties. It will be essential for Mr. Lin to have access not only to employment
opportunities to support his family, but access to individualized mental health counseling, where
he can begin to address the depths of his trauma, adversity, and negative experiences and the
underlying symptoms that contributed to his Ketamine use. Should Mr. Lin be sentenced to a
period of incarceration, he will lack access to this clinically necessary mental health treatment,
mental health symptoms will be exacerbated, and he will be at an increased risk for
psychological decline, which will undoubtedly affect his immediate family.

We do not intend on negating the criminal conduct that led to his arrest, but respectfully
request that the Court and United States Attorney’s Office consider the existing mitigating

factors in the report and acknowledge that a disposition including a period of incarceration is not

 

°* Balthazar, M.L. & King, L. (2001). The loss of protective effects of relationships on incarcerated African American men: implications for
social work. Journal of African American Men, 6(1), 31-41.

>” Miller, K.M. (2006). The impact of parental incarceration on children: an emerging need for effective interventions. Child and Adolescent
Social Work Journal, 23(4), 472-486.

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warranted for an individual like Mr. Lin, given his lengthy and complex developmental history,
lack of contact with the judicial system, possessing a high potential of rehabilitation and
redemption. Access to treatment combined with community supervision will allow him to focus
on his unresolved emotional challenges, build a solid foundation of healthy coping, problem
solving and decision-making skills, learn critical life skills, and gain a deeper understanding into
the current and previous stressors impacting his optimal well-being, leading to a concrete
solution to prevent recidivism.

The Consulting Project would like to thank the Court and United States Attorney’s Office
for its review and consideration of the contents in this memorandum and is hopeful that the Court

will concur with our recommendation.

 

VN submitted

i Uh.F :
Forensi¢ Social Worker
Forensic Mitigation Specialist
CONSULTING PROJECT

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EXHIBIT 1(A-D)
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NOTARTAL CERTIFICATE

(Translation)
(2001) Rong Zi, No. 5453

This is to certify that Lin Longhui (male)
was born on March31l, 1995 at Fuzhou, Fujian
Province. Lin Longhui’s father is Lin Zhaoxiang
and his mother is Fang Xiuxiang.

Notary: Mao Weiwang in
Fuzhou Notary Public Office
Fujian Province

The People’s Republic ef China
Feb. 21, 2001
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1 | At the Matrimonial/IAS Part 2D
of New York State Supreme Court at
the Courthouse, New York

County, onFeD, 22202

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Present:

4 HonHON. DEBORAH A. KAPLAN Justiceteferee—

 

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Plaintiff, Calendar No.:

-against- Social Security No.:
JUDGMENT OF DIVORCE

7 LIN, Zhao Xiang

Defendant.

x

 

EACH PARTY HAS A RIGHT TO SEEK A MODIFICATION OF THE CHILD SUPPORT
ORDER UPON A SHOWING OF: (1) ASUBSTANTIAL CHANGE IN CIRCUMSTANCES;
OR (II) THAT THREE YEARS HAVE PASSED SINCE THE ORDER WAS ENTERED,
LAST MODIFIED OR ADJUSTED; OR (II) THERE HAS BEEN A CHANGE IN EITHER
PARTY'S GROSS INCOME BY FIFTEEN PERCENT OR MORE SINCE THE ORDER
WAS ENTERED, LAST MODIFIED, OR ADJUSTED; HOWEVER, IF THE PARTIES
HAVE SPECIFICALLY OPTED OUT OF SUBPARAGRAPH (II) OR (Il) OF THIS
PARAGRAPH IN A VALIDLY EXECUTED AGREEMENT OR STIPULATION, THEN
THAT BASIS TO SEEK MODIFICATION DOES NOT APPLY.

8 THE FOLLOWING NOTICE IS |] APPLICABLE OR NOT APPLICABLE
NOTICE REQUIRED WHERE PAYMENTS THROUGH SUPPORT COLLECTION UNIT

NOTE: (1) THIS ORDER OF CHILD SUPPORT SHALL BE ADJUSTED BY THE
APPLICATION OF A COST OF LIVING ADJUSTMENT AT THE DIRECTION OF THE
SUPPORT COLLECTION UNIT NO EARLIER THAN TWENTY-FOUR MONTHS AFTER
THIS ORDER IS ISSUED, LAST MODIFIED OR LAST ADJUSTED, UPON THE
REQUEST OF ANY PARTY TO THE ORDER OR PURSUANT TO PARAGRAPH (2)
BELOW. UPON APPLICATION OF A COST OF LIVING ADJUSTMENT AT THE
DIRECTION OF THE SUPPORT COLLECTION UNIT, AN ADJUSTED ORDER SHALL
BE SENT TO THE PARTIES WHO, IF THEY OBJECT TO THE COST OF LIVING
ADJUSTMENT, SHALL HAVE THIRTY-FIVE (35) DAYS FROM THE DATE OF
MAILING TO SUBMIT A WRITTEN OBJECTION TO THE COURT INDICATED ON
SUCH ADJUSTED ORDER. UPON RECEIPT OF SUCH WRITTEN OBJECTION, THE

(Form UD-11 - Rev. 10/10)
 

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COURT SHALL SCHEDULE A HEARING AT WHICH THE PARTIES MAY BE

PRESENT TO OFFER EVIDENCE WHICH THE COURT WILL CONSIDER IN ADJUSTING
THE CHILD SUPPORT ORDER IN ACCORDANCE WITH THE CHILD SUPPORT
STANDARDS ACT.

(2) A RECIPIENT OF FAMILY ASSISTANCE SHALL HAVE THE CHILD SUPPORT
ORDER REVIEWED AND ADJUSTED AT THE DIRECTION OF THE SUPPORT
COLLECTION UNIT NO EARLIER THAN TWENTY-FOUR MONTHS AFTER SUCH ORDER
IS ISSUED, LAST MODIFIED OR LAST ADJUSTED WITHOUT FURTHER APPLICATION BY
ANY PARTY. ALL PARTIES WILL RECEIVE A COPY OF THE ADJUSTED ORDER.

(3) WHERE ANY PARTY FAILS TO PROVIDE, AND UPDATE UPON ANY CHANGE,
THE SUPPORT COLLECTION UNIT WITH A CURRENT ADDRESS, AS REQUIRED BY
SECTION TWO HUNDRED FORTY-B OF THE DOMESTIC RELATIONS LAW, TO
WHICH AN ADJUSTED ORDER CAN BE SENT, THE SUPPORT OBLIGATION AMOUNT
CONTAINED THEREIN SHALL BECOME DUE AND OWING ON THE DATE THE FIRST
PAYMENT IS DUE UNDER THE TERMS OF THE ORDER OF SUPPORT WHICH WAS
REVIEWED AND ADJUSTED OCCURRING ON OR AFTER THE EFFECTIVE DATE OF THE
ADJUSTED ORDER, REGARDLESS OF WHETHER OR NOT THE PARTY HAS RECEIVED
A COPY OF THE ADJUSTED ORDER.

9 This action was submitted to 1) the referee OR [ this court for [2 consideration

 

this a day of FED. Z0\2 OR for) inquest on this_____ day of

10 The Defendant was served [1 personally OR CJ pursuant to court order dated
[WZ] within OR [1 outside _ the State of New York.

I] Plaintiff presented a [1 Verified Complaint and Affidavit of Plaintiff constituting the facts

of the matter OR LZ] Summons With Notice and Affidavit of Plaintiff constituting the facts of the matter.

{Form UD-11 - Rey. 10/10):

 
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The Defendant has [Z] not appeared and is in default ORC) appeared and waived,

his or her right to answer OR (filed an answer or amended answer withdrawing any prior

pleadings and neither admitting nor denying the allegations in the complaint and consenting to the

entry of judgment OR C1 the parties settled the ancillary issues by) written stipulation OR

C oral stipulation on the record dated

 

The Court accepted Y] written OR [oral proof of non-military status.

The Plaintiff's address is13 Market Street #5, New York, NY 100Q4nd social security

number is SMG The Defendant’s address is SOTA ECCS EA SURSee

QMSER and social security number is Unknown

Now on motion of _FANG, Xiu Xiang _ ,the (1 attorney for Plaintiff ORM

Plaintiff, it is:

ORDERED AND ADJUDGED that the Referee’s Report, if any, is hereby confirmed; and

it is further

ORDERED, ADJUDGED AND DECREED that the marriage between_ FANG, Xiu Xiang

 

___, plaintiff, and LIN, Zhao Xian , defendant, is hereby dissolved by reason of:

(a)

(b)

the cruel and inhuman treatment of [1] Plaintiff by Defendant OR [1] Defendant by
Plaintiff pursuant to D.R.L. §170(1); and/or |
the abandonment of (J Plaintiff OR C1Defendant by 0) Plaintiff ORD Defendant,

for a period of one or more years, pursuant to D.R.L. §170(2); and/or

(Form UD-|1 - Rev. 10/10)

 
 

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O(c) the confinement of () Plaintiff OR C1 Defendant in prison for a period of three or
more consecutive years after the marriage of Plaintiff and Defendant, pursuant to D.R.L.
§170(3); and/or

P= (d)~—sthe commission of an act of adultery by C1 Plaintiff OR C1 Defendant, pursuant to
D.R.L. §170(4); and/or

O(c) ___ the parties having lived separate and apart pursuant to a decree or judgment of separation
dated —=—S—S—_—_foraperiod of one or more years after the granting of such
decree or judgment, pursuant to D.R.L. §170(5); and/or

(1 (f)__ the parties having lived separate and apart pursuant to a Separation Agreement dated __

in compliance with the provisions of D.R.L. §170(6); and/or

[¥] (g) _ therelationship between Plaintiff and Defendant has broken down irretrievably for a period
of at least six months pursuant to D.R.L. §170(7) and[¥] Plaintiff has so stated under oath
and/orL] Defendant has so stated under oath; and

18 The requirements of D.R.L. §240 1(a-1)(1) have been met and the Court having

considered the results of said inquiries, it is

ORDERED AND ADJUDGED that Z Plaintiff OR (1) Defendant OR LI third party,

namely: shall have custody of the minor child(ren) of the marriage, i.¢.:
19 Name Date of Birth Social Security No. |
LONG HUI LIN OSB I99S EBB CSST

 

 

 

 

 

 

 

 

OR CO There are no minor children of the marriage; and

(Form UD-11 - Rev. 10/10)

 
 

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20 The requirements of D.R.L. §240 1 (a-1) (1) have been met and the Court having

considered the results of said inquires, it is

ORDERED AND ADJUDGED that 1 Plaintiff OR [Z] Defendant shall have

visitation with the minor child(ren) of the marriage [1 in accordance with the parties’

 

settlement agreement OR [ZI according to the following schedule: at any time.

 

 

 

OR C Visitation is not applicable; and it is further;
21 ORDERED AND ADJUDGED that the existing County, Court

 

 

order(s) under (1) Index No.. OR © Docket No,______ as to [) custody
OR CO visitation OR 1 maintenance shall continue, and a copy of this judgment shall be

served by C) Plaintiff OR 0 Defendant upon the Clerk of the County

 

_ Court within

 

days of its entry;
OR [7] There are no court orders with regard to custody, visitation or maintenance to be continued;
and it is further

22 ORDERED AND ADJUDGED that (1 Plaintiff OR CO) Defendant shall pay
to OO Plaintiff OR O) Defendant OR CO third party, namely:_________—_

as and for the support of the parties’ unemancipated children of the marriage, the sum of S$

 

per , pursuant to an existing order issued by the County,

 

 

_ Court, under [1] Index OR ©) Docket Number , the terms of which are hereby !

continued. O Plaintiff OR 1 Defendant shall serve a copy of this Judgment upon the Clerk of |

 

thes County, Ss Court within days of its entry; OR [] There areno |

orders from other courts to be continued, and it is further

(Form UD-11 - Rey. (0/10)

 
 

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ORDERED AND ADJUDGED that: 4

(] agreement of the parties CI Plaintiff — shall
A) C1 Pursuant to the [(_] Court's decision me [_] Defendant Bey
2) per week

tol] Plaintiff the sum of $ CL bi-weekly as and for maintenance: :

(Defendant ———— FE] per month
[J payments to be made as set forth in the agreement;
[1 commencing on the day of and continuing until the ___ day of

' month year

 

Payment shall be (J) a direct payment,
by an Income Deduction Order issued simultaneously herewith;

 

 

OR
B) = (J that there is no award of maintenance per the court's decision;
WV] that there is no request for maintenance;
and it is further;

ORDERED AND ADJUDGED that [1 Plaintiff OR [1 Defendant shall pay |

 

 

 

 

 

 

 

to YZ Plaintiff OR () Defendant OR CC third party, namely: as and for
the support of the parties’ unemancipated child(Ren) of the marriage, namely:
Name Date of Birth
LONG HUI LIN SIU
the sum of $25 (J per week OR L) bi-weekly OR per month, commencing on
wand to be paid WZ directly ro WZ) Plainiff ORO Defendant OR CI |
third party, namely: , OR CO through the County :

 

 

Support Collection Unit located at
, together with such dollar amounts or percentages forL] childcare ORC education OR o
health care as set forth below in accordance with [7] the Court’s decision OR C1 the parties’ |
Settlement Agreement. Such Agreement is in compliance with D.R.L. §240(1 -b)(h) because:

 

(Form UD-I1 - Rev. 10/10)

 
 

Case 1:20-cr-00452-RPK Document 45 Filed 06/24/21 Page 36 of 60 PagelD #: 122

The parties have been advised of the provisions of D.R.L. Sec. 240(1-
b); the unrepresented party, if any, has received a copy of the Child
Support Standards Chart promulgated by the Commissioner of Social
Services pursuant to Social Services Law Sec. 11 1-1;
the basic child support obligation, as defined in D.R.L. Sec. 240(1-b),
presumptively results in the correct amount of child support to be
awarded, and the agreed upon amount substantially conforms to the
basic support obligation attributable to the non-custodial parent;
the amount awarded is neither unjust nor inappropriate, and the Court
has approved such award through the Findings of Fact and
Conclusions of Law;
OR
The basic support obligation, as defined in DRL Sec. 240 (1-b),
presumptively results in the correct amount of child support to be
awarded, and the amount attributable to the non-custodial parent is
$ per
the amount of child support agreed to in this action deviates from the

 

amount attributable to the non-custodial parent, and the Court has
approved of such agreed-upon amount based upon the reasons set
forth in the Findings of Fact and Conclusions of Law, which are
incorporated herein by reference; and it is further 3
OR (This provision is not applicable
25 ORDERED AND ADJUDGED that [1] Plaintiff OR [1] Defendant _ shall pay to

OC Plaintiff OR O Defendant ORT third party, namely: _—______—_—* and for
child care expenses, pursuant to [1] written agreement of the parties ORL the court’s decision.

OR (Y Not applicable; and it is further
26 ORDERED AND ADJUDGED that [) Plaintiff OR LJ) Defendant shall pay |

to (J Plaintiff OR O Defendant OR CO third party, namely: 8 and
for future reasonable health expenses, pursuant to [_] written agreement of the parties ORL the

court’s decision

OR 1) Not applicable; and it is further

(Form UD-I1 - Rev. 10/10)

 
 

Case 1:20-cr-00452-RPK Document 45 Filed 06/24/21 Page 37 of 60 PagelD #: 123

ORDERED AND ADJUDGED that Plaintiff OR (] Defendant shall apply to the state
sponsored health insurance plan for coverage for the unemancipated children of the marriage. The
costs shall be allocated pursuant to C]written agreement of the parties OR[Ithe court’s decision
OR C1] Not applicable; and it is further

27 ORDERED AND ADJUDGED that C1 Plaintiff OR 1 Defendant shall pay toO
Plaintiff OR Defendant OR Wbthird party, namely: {leducation
expenses of the children pursuant to C1 written agreement of the parties OR J the court’s
decision OR [Y] Not applicable; and it is further

 

28 ORDERED AND ADJUDGED that C0 Plaintiff ORO) Defendant is hereby awarded

exclusive occupancy of the marital residence located at

, together with its contents unti] further order of the court, OR Clas

 

 

follows: i

; ORM Not !

applicable; and it is further !
29 ORDERED AND ADJUDGED that the Settlement Agreement entered into between the
parties on the day of . © anoriginal OR Dla transcript of which

 

is on file with this Court and incorporated herein by reference, shall survive and shall not be
merged into this judgment, and the parties are hereby directed to comply with all legally
enforceable terms and conditions of said agreement as if such terms and conditions were set forth

in their entirety herein, and this Court retains jurisdiction of this matter concurrently with the
Family Court for the purposes of specifically enforcing such of the provisions of said Agreement
as are capable of specific enforcement to the extent permitted

by law with regard to maintenance, child support, custody and/or visitation, and of making
such further judgment as it finds appropriate under the circumstances existing at the time |

application for that purpose is made to it, or both; and it is further

(Form UD-1T1 - Rev. 10/10)

 
 

Case 1:20-cr-00452-RPK Document 45 Filed 06/24/21 Page 38 of 60 PagelD #: 124

30 ORDERED AND ADJUDGED that a separate Qualified Medical Child Support Order shall

be issued simultaneously herewith OR [YZ] Not applicable; and it is further

31 ORDERED AND ADJUDGED that, pursuant to the L] parties’ Settlement Agreement
OR DO the court's decision, a separate Qualified Domestic Relations Order shall be issued
simultaneously herewith or as soon as practicable OR {Z] Not applicable; and it is further

32: ORDERED AND ADJUDGED that, 1 pursuant to the Court's decision OR CO
pursuant to the parties’ agreement, the Court shall issue an income deduction order simultaneously
herewith OR [Z] Not applicable; and it is further

33 ORDERED AND ADJUDGED that both parties are authorized to resume the use
of any prior surname, and it is further

34 ORDERED AND ADJUDGED that Z] Plaintiff OR C Defendant is authorized
to resume use of the prior surname FANG

35 ORDERED AND ADJUDGED that [] Plaintiff ORC) Defendant is hereby

awarded counsel and/or expert’s fees as follows:

 

OR /@ Not applicable; and it is further

 

(Form UD-1] - Rev, 10/10)

 
 

Case 1:20-cr-00452-RPK Document 45 Filed 06/24/21 Page 39 of 60 PagelD #: 125

36 ORDERED AND ADJUDGED thay CO Plaintiff OR W1 Defendant shall
be served witha copy of this judgment, with notice of entry, by the Y Plaintiff ORLI ,

Defendant, within 20 days of such entry.

37 Dated: Feb. Phy LOL
ENTER:

 

 

 

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2012 APR20 A 02 u507 3o APR 11 2010

WITH THE CRIGH

  

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(Form UD-11 - Rev. 10/10)
 

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Case 1:20-cr Ode RRR Ky ROGUIBENL AB fied dorzaiza Page 41 of 60 PagelD #: 127

BROOKLYN, NY 14229.2599
Tel: 347-689-9112 Fax: 347.699-2703

To whom it may concern:

Patient Name: Wen Wen Chen, DOB: gagadmumieay had a positive urine
pregnancy test at our clinic on 04/19/2021. She is approximately _6 weeks

and _0_ days, with an expected due date on__ 12/13/2021

 

If you have any questions, please contact 347-689-9112 for additional

information. Thanks!

Sincerely,
DUAN MEDICAL P.C.
Halo” 7th Avenue, 2nd Floor Haiou Duan M.D.
5314 okiyn, NY 11220

Tel: 347-689-9112
Case 1:20-cr-00452-RBK., PEE {45 Filed 06/24/21 Page 42 of 60 PagelD #: 128

   

98 Bast Broadway 4 Eric Zhou Medical Office PC

Floor 4 °

New York, NY 10002 Eric Zhou, MD

Tel: (212) 966-2699

Fax: (212) 966-1206 | Board certified in Internal medicine & Nephrology

Jan 27, 2021

Re: Fang, Xiu Xiang <j aaa)

To whom it may concern,
Ms. Fang has been seen in our office since 06/24/2010, I am her primary care physician. She complains
chronic lower back pain with sciatica, neck pain and shoulder pain. According to patient, she had history of

lumbar disc herniation.

If you have any questions, please feel free to contact me.

Sincerely,

  

Eric Zhou, MD, PAD

98 E Broadway 4th Floo;

New York, NY 10002
Tel 212-966-2699
Case 1:20-cr-00452-RPK Document 45 Filed 06/24/21 Page 43 of 60 PagelD #: 129

EXHIBIT 2(A-B)
4040

Case 1:20-cr-00452-RPK Document 45

Department of the Treasury—Intemal Revenue Service

U.S. Individual Income Tax Return

(99)

Filed 06/24/21 Page 44 of 60 PagelD #: 130

2 02 0 OMB No, 1545-0074 IRS Use Only—Do not write or staple In this space.

iling Status Single [_] Married filing jointly [__] Married filing separately (MFS) [_] Head of household (HOH) [__] Qualifying widow(er) (QW)

 

 

 

 

 

 

heck only If you checked the MFS box, enter the name of your spouse. If you checked the HOH or QW box, enter the child's name if the qualifying person is
ne box, achild but not yourdependent >
‘our first name and middie initial Last name Your social security number
ONGHUI LIN quem
f joint return, spouse's first name and middle initial Last name Spouse's social security number
jome address (number and street). If you have a P.O. box, see instructions. Apt. no. Presidential Election Campaign
439 BAY RIDGE PKWY Check here if you, or your
7 spouse if filing jointly, want $3
ity, town, or post office. If you have a foreign address, also complete spaces below. State ZIP code to go to this fund. Checking a

box below will not change
uke oklyn Ny 11228 your tax or refund.

 

 

*oreign country name

 

Foreign province/state/county

Foreign postal code

 

 

[] You C] Spoust

 

any time during 2020, did you receive, sell, send, exchange, or otherwise acquire any financial interest in any virtual currency?

jtandard
Jeduction

Someone can claim:

[_] You as a dependent

[] Your spouse as a dependent

C] Spouse itemizes on a separate return or you were a dual-status alien

ige/Blindness You: L] Were born before January 2, 1956

[_] Are blind

Spouse: [] Was born before January 2, 1956

[_] Yes [x] No

[_] ts bling

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Dependents (see instructions): (2) Social security (3) Relationship (4) ¥ if qualifies for (see instructions):
(1) First name Last name number to you Child tax credit Credit for other dependen
dan fut ] C
ependents, Lad : i.
instructions
ma shock ‘ca Tr
ere > _] CJ
4 Wages, salaries, tips, etc, Attach Form(s) W-2 . ‘ 4 12,02
Attach 2a Tax-exemptinterest. . |_2a b Taxable interest... . 1. + | 2b
Sch.Bif 3a Qualifieddividends. . ..... 3a b Ordinary dividends... ©. 6 2 ee 3b
required. | 4a‘ IRAdistributions, . |_4a b Taxableamount. . 6.6 «ee eee 4b
5a _‘ Pensions and annuities . 5a b Taxableamount, ... 6.2055. 5b
3tandard 6a _— Social security benefits . 6a b Taxable amount. . Re we 6b
Jeductionfor— | 7 — Gavital gain or (loss). Attach Schedule D if required. If not required, checkhere. ©. ee ee >] La
ama 8 Other income from Schedule 1, line 9. . Kw ie a ey 8
$12,400 9 Add lines 1, 2b, 3b, 4b, 5b, 6b, 7, and.8. This is yourtotalincome. © © 6 6 6 ee ee > 9" 12,02
Married filing 40 Adjustments to income:
eee aee a FromSchedule 4, line 22... . . se gazette qoulih go dae 10a
nay b Charitable contributions if you take the standard deduction. See instructions 10b
Ley c Add lines 10a and 10b, These are your total adjustments toincome. . 2... ee _P | 40
$18,680 Lat Subtract line 10c from line 9. This is your adjusted gross income. © 6 6 6 es > 14 412,02
myccnees 42. Standard deduction or Itemized deductions (from Schedule A). . 42 12,4C
pial 13 Qualified business income deduction. Attach Form 8995 or Form 8995-A, 6 6 6 es 13
see instructions. = |.44 Add lines 12 and 13. wsdl peewee 14 12,4(
16 Taxable income. Subtract line 14 from line 11, If zero or less enter-0-. se 46
‘or Disclosure, Privacy Act, and Paperwork Reduction Act Notice, see separate instructions. Form 1040 (20:

ITA
Case 1:20-cr-00452-RPK Document 45 Filed 06/24/21 Page 45 of 60 PagelD #: 131 * *

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Form 1040 (2020) LONGHUI LIN ‘ig gepe-e5e Page |
46 Tax (see instructions), Check if any from Form(s): 1 O 8814 2 [_} 4972 3 | —__ ae 16
47 Amountfrom Schedule 2,line3. 2 0 0 6 ee fa BOW ew Woe 47
48 Addiinest1Gand17. . 0. 0 6 eee ee CARER ERR YO Wk Ses 18
49 Child tax creditorcredit for otherdependents. ©. 6 6 6 ee ee ia a 19
20 AmountfromSchedule 3, line7. 2 2 6 tie eA Ce 20
21 Addlinesi9and20. . 6 6 ce ee ee es : ax RR WR wD 21
22  Subtractline 21 from line 18. If zeroorless,enter-O-. 2 0 6 2 ee <HaR Mw ew Boe eo be 22
23 Other taxes, including self-employment tax, from Schedule 2, line 10. 2 2 6. ee i o& & 23
24 Add lines 22 and 23, Thisis yourtotaltax. ©... 6 oe es GnpePRG HERS EX ba @tewiwy bg
26 ~— Federal income tax withheld from:

: a Form(s)We2. 2 6 (83 a0 @ 4 oo oe Se
b  Form(s)1099.. 6 0k a a ee 25b
c  Otherforms (see instructions). ©... 6 ee ee ee Swe es ea ae + Babe
d Addlines 25a through 28¢. . 0 ee ee AeRaRER REE SRR GAYS SGU SG 26d

* If you have a | 26 2020 estimated tax payments and amount applied from 2019 retum., . iy al 26

quatifying child,

altach Sch, EIC. 27  Earnedincomecredit(EIC). ©... 6 ee 27 290

+ Ifyou have 28 Additional child tax credit. Attach Schedule 8812. © 6. wwe ee 28

nontaxable 4, | 29 American opportunity credit from Form 8863, lineB. ee ra

instructions. 30 Recovery rebate credit. See instructions. © 2 2. ee Ce . (30
31. AmountfromSchedule3,line 13... 2. 2. 2]. 0 Fe eacarecenreenecrsven ted

 

 

 

 

32 Add lines 27 through 31. These are your total other payments and refundable credits .

33 Add lines 25d, 26, and 32. These are your total payments... 1... ee

Refund 34 If line 33 is more than line 24, subtract line 24 from line 33. This is the amount you overpaid, . . . .
ee 35a Amount of line 34 you want refunded to you. If Form 8888 is attached, check here .

Desc sepores i P c Type: fiecking
See instructions. Pb Routing number | Type Ix] c a

 

 

 

 

 

Pd Account number

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

36 __Amountof line 34 you want applied to your 2024 estimated tax. | 36_|
Amount 37. Subtract line 33 from line 24. This is the amountyouowe. .. 6 6 6 ee
You Owe Note: Schedule H and Schedule SE filers, line 37 may not represent all of the taxes you owe for
For details on 2020. See Schedule 3, line 12e, and its instructions for details.
eric oe 38 Estimated tax penalty (see instructions). . . . - . eee ee seeaces FF | 38 |
Third Party Do you want to allow another person to discuss this return with the IRS?
Desig nee See instructions. 6 6 ee > C] Yes. Complete below. No
Designee's Phone Personal identification
name & no, » number (PIN)
S ig n Under penalties of perjury, | declare that | have examined this retum and accompanying schedules and statements, and to the best of my knowledge and
belief, thay are true, correct, and complete, Declaration of preparer (other than taxpayer) is based on all information of which preparer has any knowledge.
Here Your signature Date Your occupation Ifthe IRS sent you an Identity Protection
PIN, enter it
Joint return? . here (see inst.) >
See |nstructions, Spouse's signature, If a joint return, both must sign. Date Spouse's occupation Ifthe IRS sent you an Identity Protection
ee eo for PIN, anter it
your records. J here (see inst.) p
Phone no. (646) 829-5006 Email address
Paid Preparer’s name Preparer's signature Date PTIN Check if:
a EPA
| 3/29/2021 [_] sott-ompioyes
Fraparer Sk cee EEE Ph
irm's ni one no.
Use Onl ee
y Firm's address Firm's EIN
Bo to www. irs.gov/Form1040 for instructions and the latest information. ‘ Form 1040 (2021
*
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RECORDS (See

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[Stiée to Erploybea@h adh

 

Copy 2—To Be Filed With Employee's State,

. OMB No, 1545-0008

 

 

 

 

 

 

 

“@CON452-RPK BOA HPS | Fuss tegatdncope Tan Ras Go Degetp +35
| Employee's soc. sec. no, 4 Wages, tips, other comp, 2 Federal income tax withheld 2 Employee's soc, sec. no. 4 1 Wages, tips, other Gonder |) 2 Fecteral frcome tax withhel
12025.00 12025.00
3 Social security wages 4 Social security tax withheld 3 Social security wages 4 Social security tax withhelc
» Employer ID number (EIN) 12025.00 745.55 b Employer ID number (EIN) 12025.00 745,55
§ Medicare wages and tips 6 Medicare tax withheld 5 Medicare wages and tips 6 Medicare tax withheld.
12025.00 174.33 12025.00 174.33

 

 

: Employer's name, address, and ZIP code

{KIN MOON BUFFET CENTRAL INC

10 CENTRAL PLZ
[LION NY 13357

 

 

¢ Employer's name, address, and ZiP code

| MAIN MOON BUFFET CENTRAL INC

40 CENTRAL PLZ
ILION NY 13357

 

 

1 Gontrol number

6

d Control number

16

 

» Employee's name, address, and ZIP code
JONG HUI LIN
NY 13357

e Employee's name, address, and ZIP code
LONG HUI LIN
NY 13357

 

 

7 Social security tips 8 Allocated tips

  

7 Social security tips 8 Allocated tips

 

 

 

} Dependent care benefits 11 Nonqualified plans

 

12a Code See inst, for box 12

70 Dapendent care benefits 111 Nonqualified plans

 

 

 

 

 

3 Statutory employee [14 Other 12b Code 43 Statutory employee |14 Other 12b Code
Retirement plan 12c Code Retirement plan 12¢ Code
Third-party sick pay 12d Code Third-party sick pay 12d Code

 

  

 

2025.00

 

 

5 State Empioyer’s state ID number|16 State wages, tips. etc.

232.40

 

17 State income tax

 

 

x 12025.00

 

15 Stata Employer's state ID number|16 State wages, tips, etc.

232.40

 

17 State income tax

 

8 Local wages, tips, etc. 19 Local income tax

fe

 

20 Locality nama

 

 

18 Local wages, tips, etc. 19 Local income tax

 

 

{>

r Locality name

 

 

\
orm W-2 Wage and Tax Statement c0eo me Dept. of the Treasury -IRS Form W-2 Wage and Tax Statement 2Oeo Dept. of the Treasury - |
als information is being furnished to the IRS, If are required td file a tax return, a reongenc BW24UP NTE 2583656 0 Bw24uP

snalty or other sanction may be impased on you" his income ig taxable and you fail to
kis: Case 1:20-cr-00452-RPK Document 45 Filed 49. 1 Page 47 of 60 PagelD #: 133

 

 

 

 

 

 

 

 

 

 

 

 

4 0 4 0 Department of the Treasury—Internal Revenue Service (99) 2QOAY a
U.S. Individual Income Tax Return OMB No. 1545-0074 | — IRS'Use Only—Do not write or staple In this space.
iling Status [X] single [_] Married fing jointly [_] Married filing separately (MFS) [_] Head of household (HOH) = [_] Qualifying widow(er) aw)
heck only if you checked the MFS box, enter the name of spouse. If you checked the HOH or QW box, enter the child’s name if the qualifying person is
78 box. achild but not your dependent, &
‘our first name and middle initial Last name ~| Your social security number
ONGHUI LIN vt
F joint return; spouse's first name and middle initial Last name Spouse's social security number -
ome address (number and street). If you have a P.O. box, see instructions, "Apt. no. Presidential Election Campaign
Check here if.you, or your spouse ff filing
47 BROOME STREET : C4 Jointly, want $3 to go to this fund,
ity, town or post office; state, and ZIP code. If you have a foreign address, also complete spaces below (see instructions), Checking a box below will not change your
lew York NY 10002 taxorrefund. [_]¥ou [_] Spouse
foreign country name Foreign province/state/county Foreign postal code "| If more than four dependents, see
‘ , instructions and ¥ here »
itandard ts pce Someone can claim: C] You as a dependent C] Your spouse as a dependent 7
eduction | Spouse itemizes on a separate return or you were a dual-status alien

 

  
 

 

ge/Biindness Yous: | E Were born before January 2, 1955 | Are blind Spouse: CI Was born before January 2, 1955 [__] ts blind
dependents (see instructions): (2) Social security number (3) Relationship to you (4) ¥ if qualifies for (see instructions):
4) First name Last name Child tax credit “Credit for other depandents

 

 

 

 

 

 

 

Oooo

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

     
   

 

 

 

 

 

 

 

1 Wages, salaries, tips, etc. Attach Form(s) We2. 6 6 ee ee 1 23, 0¢
Tax-exemptinterest. 6 2...) L 2a, b Taxable interest. Attach Sch. B ifrequired.. | 2b | ee
standard.<<."' “ Qualified dividends. . 2... 3a b Ordinary dividends, Attach Sch. Sitreqsle ae
aR RES iRAdistributions. . . . 2. 4a b Taxableamount. .. 2... se ele ee 4b
sysape| Pensions andannuities. . .. . 4c d Taxableamount. .. 2 0 5 we ee 4d
sem Social security benefits... - 5a b Taxableamount..... 2...) 44° [5b 0)
scales Capital gain or (loss). Attach Schedule D if required. If not required, check here. 2 6 6 6 se eee ee >» [] 6
re ; Other income from Schedule 1, line9. 2 eee Ck we kee ee ee ET RE ea jy SOA OR 7a
Head of.-11 oy ~_ :Add lines 1, 2b; 3b, 4b, 4d, Sb, 6, and 7a, This in you ha income... eee coe een ee EHS Pla 7b _23,0¢
$18,350 Adjustments to income from Schedule 1, line 22.0. 6. 2 8a
\eyeaabeti tei > '* Subtract line 8a from line 7b. Thine your eithieted groes Wiabend 2 ma cette action: an eattes Miconchiae oils bk 8b 23,0
Biantard 85 Standard deduction or Itemized deductions (from ScheduleA). ©. 6 ee es 9 12,200
see instructions. Qualified business income deduction. Attach Form 8995 or Form 8995-A. . . . ss 410 guia i
ST itty (Add iesGeNdO; soe vse be eee era ea ae BS (aS YR RMS AH Bh Mee? |e 12,21
b Taxable income. Subtract line 11a from line 8b, If zero or less, enter -O- 2 eo agp gy Sebel ib  10,8«
‘or Disclosure, Privacy Act, and Paperwork Reduction Act Notice, see separate instructions. . : Form 1040 (20
ITA :
al,
ba ; :

 
ate Case 1: 20-¢ -cr-00452-RPK Document 45 Filed 06/24/21 Page 48 of 60 P
arm 1040 (2019) LONGHUI LIN

42a ‘Tax (see inst.) Check if any from Form(s): aL_] B8i4 2 Ls 4972 Lt _

agelD #134 _

    

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

b Add. Schedule 2, line 3, and line 12a and enterthetotals: 6 2 ce ae eB te fe
‘ 13a Child tax credit or credit for other dependents . wh 13a
Ges b Add Schedule 3, line 7, and line 13aandenterthetotal. . . . + See ee we ate @ oeen | & | 13b
44 _ Subtract line 13b from line 12b. If zero orless,enter-O-. 6 se mie x 14, 4,108
oe 45 Other taxes, including self-employment tax, from Schedule 2,line10. 6 6 6 ee oa 45
“ 46  Addlines 14 and 15, Thisis yourtotaltax. 6. es ee wo Pe 4408
47 Federal income tax withheld from Forms W-2 and 1099... ivf
if you have a | 48 Other payments and refundable credits: : *
qualifying child, ' “,
attach Sch. EIC. a Earned income credit(EIC). - . . + 5 4Ba
ityou have b Additional child tax credit. Attach Schedule 8812 . .m BE 18b
oe see _e American opportunity credit from Form 8863, lineB. . 18c pe gt
nee d_. Schedule.3,line14. 6 6 2 ee = mene ar 18d Sita
e Add lines 18a through 18d. These are your total other Sane and refundable credits . , ea 180 | - we beeen (

 

19 ‘dd lines 17 and 18. These are yourtotal payments... oes gS
If line 19 is:‘more than line 16, subtract line 16 from fine 19. This is the amount you overpaid. . .

 

 

 

Refund ;
24a  Amountof line 20 you want refunded to you. If Form 8888 is attached, checkhere. . . .
Jiract deposit? ‘ P cType:
see Instructions. Pb Routing number ”
Pd Account number

 

 

 

 

 

22... Amountof line 20 you want applied to your 2020 estimated tax...

 

 

 

Amount 23 Amount you owe. Subtract line 19 from line 16. For detaits on how to pay, see instructions...
You Owe _24_Estimated tax penalty (see Instructions). eee eee

Ls] Yes. Complete below.

Third Party
Designee No
Phone Personal identification_

Other than Designee's
no, » number (PIN) & [

Do you want to allow another person (other than your paid preparer) to discuss this return with the IRS? See instructions.

 

 

 

 

 

 

 

pald. preparer) name
Si g n Under panaities of perjury, | declare that | have examined this return and accompanying schedules and statements, and to the best of my knowledge and belief, they are true,
correct, and compiete. Declaration of preparer {other than taxpayer) is based on all information of which preparer has any knowledge.
Here Your signature Date Your occupation ifthe IRS sent you an Identity Protection
: PIN, enter it . ts oe

Joint return?» hare (eae inet)
See Instructions. Spouse's signature. If a joint return, both must sign. Date Spouse's occupation ifthe IRS sent you an Identity Protection ;
Keep a a for PIN, enter it~
your records, here (see Inst.) oes

Phone.no. (646) 829-5006 Email address

Preparer's name Preparer's signature Date PTIN ; Cheek if:

 

 

 

Paid ieee. [_] 3rd Party Designee

 
   
  

 

 

Felscone Firm's name > Phone no. CL] Self-employed
Use Only = Finsaddress > gael oo EIN» XX-XXXXXXX

 

 
 

Go to www.irs.gov/Form1040 for Instructions and the latest information, Form 1040 (201

aw
 

 

a Employge's SSN

Cc Employer's hams, a
42-44 EAST BEOADHEY RESTAURANT IN

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other sanction ria be Dread on Wns nit this jones is

  
    
   

 

  

OMB No. 1545-0008

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

4 Was, tips, cther compn | 2 Fed inc tax withheld 3 Socal secure waged,
42-44 EAST BROADWAY 25002 .t8 1015.08] From W-2
= 4 SS tax withheld 5 Medicare wages & tips | 6 Medicare tax withheld
1428.82 23045. 46 334.16| Wage and
NEW YORK NY 10002 7 Social securily tips 8 Allocated tips 9 . it may
dd Gantrol No. 12887.38 me
10 Depdnt care benefits | 11 Nonqualified plans. "4
@ Employee's name, address, and ZIP coda Suf. |13 14 Other 12b 201 9
Statutory employee. L] NY-SDI 15.00 | - on
LONGHUI LIN NY-FLI 35.26 |12e opy C For
420 64TH ST APT 11D Retirement pian» - [_] | RECORDS.
BROOKLYN NY 11220 12d (See Notice to
Third-party sick pay [ | | Employee.)
15 State E 's state ID No. 16 State wages, tips, atc 17 State income tax 18 Local wages, tips,etc. | 19 Local income tax 20 Locality name
a 23045-46[ 23045.46| -0-00|NY - ci
REV 12/23/49 QBDT
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TransUnion

 

Personal Credit Report for Long Hui Lin .

Report Date: 04/05/2021
Source: TransUnion

File aii

Personal information You have been on our files since 08/07/2016

SNR) ec |
een masked

for your protection.

Names Reported: LONGHUI LIN, LONG HUI LIN and LIN LONGHUI

Addresses Reported:

Address Date Reported
420 64TH ST APT 11D, BROOKLYN, NY 11220-4975 01/05/2017
1228 78TH ST APT 1, BROOKLYN, NY 11228-2738 11/30/2020
1223 78TH ST APT 5, BROOKLYN, NY 11228-2717 09/15/2020
1223 78TH ST APT 1FT, BROOKLYN, NY 11228-2717 08/16/2020
916 57TH ST APT 3A, BROOKLYN, NY 11219-4417 08/19/2019
13105 40TH RD APT 1170, FLUSHING, NY 11354-5188 01/15/2018
13105 40TH RD APT 17Q, FLUSHING, NY 11354-5200 12/06/2017
934 59TH ST APT 1F, BROOKLYN, NY 11219-4809 11/30/2016
628 68TH ST, BROOKLYN, NY 11220-5510 08/07/2016

Telephone Numbers Reported:

(646) 379- (917) 488- (646) 510-
7268 1888 5616

Employment Data Reported:

Typically, creditors report any changes made to your account information monthly. This means that some accounts
listed below may not

raflect the mnct rerent artivity until the creditor's nevt renartinn. This infarmatinn mav incline thinns such as
Rating Key

Some creditors report the timeliness of your payments each month in relation to your agreement with them. The
ratings in the key below describe the payments that may be reported by your creditors. Please note: Some but not all
of these ratings may be present in your credit report.

u/R x ut o -_ = 8
Not 30 days 60 da 90d 1204 - Vol Re
Retortea Unknown Curent “tte ee hae eo Collection Sette ghetion Charge Off Foreclosure
Adverse Accounts.

Adverse information typically remains on your credit file for up to 7 years from the date of the delinquency. Ta help
you understand what is generally considered adverse, we have added >brackets< to those items in this report. For
your protection, your account numbers have been partially masked, and in some cases scrambled. Please note:
Accounts are reported as "Current; Paid or paying as agreed" if paid within 30 days of the due date. Accounts
reported as Current may still incur late fees or interest charges if not paid on or before the due date.

STATE FARM BANK si S@SESESOE ==:

PO Box 2313
Bloomington, IL 61702
(877) 734-2265

Date Opened: 11/29/2016 Date Updated: 07/05/2019 Pay Status: Current Account

Responsibility: Joint Account Payment $0 Terms: $0 per month, paid

Account Type: Installment heve Rayment 06/13/2019 Monthly for 60 months
Account Made: Date 07/05/2019

Loan Type: AUTOMOBILE efhieemum Delinquency of 30 days

in 02/2017 for $887<
High Balance: High balance of $56,740 from 10/2018 to 07/2019
Remarks: CLOSED
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O7 /2019/G6/2013/0S/ 2019)04/2019 03 /2019|62 /2018/01/2019/12/ 2618) 11/ 201B/10/2018
Balance $0] $30,446] $31,390| $32,331| $33,271| $34,206] $35,148] $36,079] $37,007| $37,937
Scheduled|
Payment $0] $1,017] $1,017| $1,017] $1,017) $1,017] $1,017) $1,017] $1,017] $1,017
aa $0| $1,017| $1,017] $1,017] $1,017] $1,017) $1,017) $1,017] $1,017) $1,017
Past Due $0 $0 $0 $0 $0 $0 50 $0 $0 $0
Rating GK Ox OK OK OK oK OK OK GK GK

GF pit LS 7
Rating
i 7,10 oi?

Rating OK
Rating OK OK

The following accounts are reported with no adverse information. For your protection, your account numbers have
been partially masked, and in some cases scrambled. Please note; Accounts are reported as "Current; Paid or
paying as agreed” if paid within 30 days of the due date. Accounts reported as Current may still incur late fees or
interest charges if not paid on or before the due date.

CITICARDS CENA +a

5800 SOUTH CORPORATE
PLACE

SIOUX FALLS, SD 57108
(888) 248-4728

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Date Opened: 12/27/2016 Balance: $0 Pay Status: Current Account
Responsibility: Individual Date Updated: 05/04/2018 Terms: Paid Monthly
Account Type: Revalving Last Payment 11/30/2017 Date 12/02/2017

Loan Type: RECHRED Miah-Balance: $510 DeieeBaid: 11/30/2017

CREDIT CARD Credit Limit: $500
Remarks: Account closed at consumer's request; CLOSED
10/2017 07/2017

Rating dh OK

Rating

CITICARDS CENA qe
5800 SOUTH CORPORATE
PLACE

SIOUX FALLS, SD 57108

(888) 248-4728

Date Opened: 12/02/2017 Date Updated: 03/15/2021 Pay Status: Current Account
Responsibility: Individual Last Payment 01/29/2021 Terms: $35 per month; paid
Account Type: Rewelvitg Made: Monthly

Loan Type: GR CARD
High Balance: High balance of $3,140 from 10/2018 to 03/2021
Credit Limit: Credit limit of $3,200 from 10/2018 to 01/2019; $4,700 from 02/2019 to 03/2021
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Balance

Past Due

Balance

Past Due

16 (2019/05 /2019/04/

Balance $87.

Past Due

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Rating OK OF

 

JPMCB CARD SERVICES

PO BOX 15369
WILMINGTON, DE 19850
(800) 945-2000

 

Date Opened: 07/20/2019 Date Updated: 03/19/2021 Pay Status: Current Account
Responsibility: Individual Last Payment 10/07/2020 Terms: Paid Monthly
Account Type: Revalving Made: Date Paid: 10/07/2020
Loan Type: AcexdREE

SPENDING

CREDIT CARD

High Balance: High balance of $1,377 from 08/2019 to 09/2019; $1,435 from 10/2019 to 02/2020; $1,870 from
03/2020 to 07/2020; $6,005 from 98/2020 to 03/2021
Credit Limit: Credit limit of $5,700 from 08/2019 to 03/2021

02/2021/02/2021(61/ 2071]12/ 2020] 11/ 2020|/10/ 2020/09 /2020/08/ 2020/07 /2620/06/ 2020

Balance $ $0

Past Due

Balance

Past Due

STATE FARM BANK » BARRTSSTCOONY =

PO Box 2313
Bloomington, IL 61702
(877) 734-2265

 

Date Opened: 08/05/2019 Date Updated: 03/17/2021 Pay Status: Current Account

Responsibility: Individual Payment $27,378 Terms: $0 per month, paid

Account Type: Aestaliment ReeeRaxment 03/17/2021 Monthly for 60 months
Account Made: Date 03/17/2021

Loan Type: AUTOMOBILE Closed:

High Balance: High balance of $37,691 from 08/2019 to 03/2021
Remarks: CLOSED
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03/2021/G2/2021|01
Balance

$699 $699 $699

Amount

$27,378 $699 $699

Past Due

2019 pL01L9

7,242| $37,81
$699

05/2020 20 O20/02/2020/01/ 2020/12 /26019)/11/2619/10/2019/08
Balance $32,641 $34,963 $3
$699

Amount $699

$699

$699 $699

Past Due

 

Promotional Inquiries

The companies listed below received your name, address and other limited information about you so they could
make a firm offer of credit or insurance. They did not receive your full credit report. These inquiries are not seen by
anyone but you and do not affect your score.

CAPITAL ONE BANK USA NA JP MORGAN CHASE BANK

PO Box 31293

Salt Lake City, UT 64131
(800) 955-7070

301 N WALNUT STREET

WILMINGTON, DE 19801
(800) 432-3117

Requested On: 08/05/2020, 06/03/2020 Requested On: 07/27/2020, 06/26/2020,

05/26/2020, 04/26/2020
UNITED AUTOMOTIVE SERV
770 SPIRIT OF ST LOUIS BLVD

CHESTERFIELD, MO 63005
(636) 733-3317
Requested On: 05/31/2020

Account Review Inquiries
The listing of a company’s inquiry in this section means that they obtained information from your credit file in
connection with an account review or other business transaction with you. These inquiries are not seen by anyone
but you and will not be used in scoring your credit file (except insurance companies may have access to other
insurance company inquiries, certain collection companies may have access to other collection company inquiries,
and users of a report for employment purposes may have access to other employment inquiries, where permitted

by law).
CITICARDS CBNA

CITI BRANDS CREDIT BUREAU DISP

POB 6241

SIOUX FALLS, SD 57117

Phone number nat available

Requested On: 02/28/2021

LONG HUI LIN VIA TRANSUNION INTERACTIVE
IN

100 CROSS ST

STE 202

SAN LUIS OBISPO, CA 93401

(855) 681-3196

Requested On: 04/05/2021, 04/05/2021

LONGHUI LIN VIA TRANSUNION INTERACTIVE
IN

100 CROSS ST

STE 202

SAN LUIS OBISPO, CA 93401

(855) 681-3196

Requested On: 11/17/2020

LONGHUI LIN VIA KARMATRANSUNION
INTERACT

100 CROSS STREET

SAN LUIS OBISPO, CA 93401
(844) 580-6816

Requested On: 10/13/2020

STATE FARM BANK
PO Box 2313

Bloominaton, IL 61702
(877) 734-2265

Requested On: 10/02/2020
TU INTERACTIVE

100 CROSS ST

202

SAN LUIS OBISPO, CA 93401

(844) 580-6816

Requested On; 04/05/2021, 11/17/2020

FACTACT FREE DISCLOSURE

PO BOX 1000

CHESTER, PA 19016

(800) 888-4213

Requested On; 11/17/2020

LONGHUI LIN VIA TRANSUNION INTERACTIVE

100 CROSS STREET 202

SAN LUIS OBISPO, CA 93401

(B00) 493-2392

Requested On: 07/20/2020, 06/04/2020,
05/20/2020, 04/20/2020, 03/20/2020, 02/20/2020,
01/20/2020, 12/20/2019, 11/20/2019, 10/20/2019,
09/05/2019, 08/20/2019, 07/20/2019
Case 1:20-cr-00452-RPK

JPMCB CARD SERVICES

PO BOX 15298

WILMINGTON, DE 19850

(800) 432-3117

Requested On: 06/04/2020

JPMCB CONSUMER BANK

PO BOX 15298

WILMINGTON, DE 19850

(800) 935-9935

Requested On: 08/06/2019, 07/20/2019

Additional Information

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514440638 VIA TRANSUNION INTERACTIVE
100 CROSS STREET 202

SAN LUIS OBISPO, CA 93401

(800) 493-2392

Requested On: 09/02/2019

The following disclosure of information might pertain to you. This additional information may include Special
Messages, Office of Foreign Assets Control ("OFAC") Potential Name Matches, Inquiry Analysis, Military Lending Act
("MLA") Covered Borrower Information, and/or Third Party Supplemental Information. Authorized parties may also
receive the additional information below from TransUnion.

Special Messages

The following Special Messages may be provided to an authorized party when it makes an inquiry into your
TransUnion credit report. These messages provide important details concerning the information contained in your

file and/or the authorized party's inquiry.

SHOULD YOU WISH TO CONTACT TRANSUNION,

YOU MAY DO SO,
Online:

To report an inaccuracy, please visit: disnute.transunion.com

For answers to general questions, please visit:
wi. trans nion com

By Mail:

TransUnion Consumer Relations
PO. Box 2000

Chester, PA 19016-2000

By Phone:
(800) 916-8800

You may contact us between the hours of 8:00 a.m. and 11:00
p.m. Eastern Time, Monday through Friday, except major

holidays.

For all correspondence, please have your TransUnion file
number available (located at the top of this report).

Consumer Rights

Para informacion en espanol, visite www.consumerfinance.gov o escribe ala Consumer Financial Protection Bureau, 1700 G

Street N.W. Washington, DC 20552.

A Summary of Your Rights Under the Fair Credit Reporting Act

The federal Fair Credit Reporting Act (FCRA) promotes the accuracy. fairness, and privacy of information in the files of
consumer reporting agencies. There are many types of consumer reporting agencies. including credit bureaus and specialty
agencies (such as agencies that sell information about check writing histories. medical records. and rental history records). For
more information, including information about additional rights, go to www. consumerfinance,gov/learnmore or write to:
Consumer Financial Protection Bureau, 1700 G Street N.W., Washington, DC 20552.
. You must be told if information in your file has been used against you, Anyone who uses a credit report or another
type of consumer report to deny your application for credit. insurance, or employment - or to take another adverse
action against you - must tell you, and must give you the name. address, and phone number of the agency that

provided the information

. You have the right to know what is in your file. You may request and obtain all the information about you in the files
of a consumer reporting agency (your ‘file disclosure’). You will be required to provide proper identification, which may
include your Social Security Number. In many cases, the disclosure will be free. You are entitled to a free disclosure if:

* aperson has taken adverse action against you because of information in your credit report;
* you are the victim of identity theft and place a fraud alert on your file;
« your file contains inaccurate information as a result of fraud;

* you are on public assistance:
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EXHIBIT 3(A-B)
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TRANSLATED LETTER

Dear Honorable Justice:

I am Zi Liu Zhang, and Xiu Xiang Fang’s boyfriend. Xiu Xiang and | have
been together for ten years. During this time, Long Hui would often
participate in family gatherings; therefore, I often had seen him. From my
observations, he would contact Xiu Xiang weekly. Long Hui and his mother
are in excellent relations. Long Hui very much loves and respects his
mother.

What I see is that Long Hui has been a very kind and responsible son. Xiu
Xiang ‘s health, due to previous jobs, has not been well in the shoulders and
back. Long Hui would often come and visits us and help us in doing chores.
Especially, during the pandemic, we have been afraid of getting infected by
the virus, and stayed at home - not going out. Most things have been done
by Long Hui, who has helped us. It is hoped that Your Honor will give Long
Hui a chance in reforming himself.

Zi Liu Zhang
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FEWKERKA ,

#: 2Zi Liu Zhang, Xiu Xiang Feng HM BARA. HAIXiu XiangeBAt—M10F 7. FRAN AS
_ Long Hhi#@#SKSMRERS , MOARBSRARHLA. FROME , SA BR ARXiu
Xiang. Long Hui#itth ($395 SBR , Long HUFF RAMS BBB.

4F FLAR Long Hui—TMRERAMAREDOMRT. Xiu XianghFAAA Ls LARA

FLIEMAR, Long HiIAFAUKRARNABCRNAKS. HABER , RNS

SER POMERBRM , ABOBABZLong HivRMNATKH. PLREAABLOng
Hui— RA BATH WA.
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TRANSLATED LETTER

Dear Honorable Justice:

I am Xiu Xiang Fang. I am Long Hui Lin’s mother. Due to when Long Hui
was just over a year old, his father had come to the United States, he never
had his father’s company in his youth. It was just he and I living together in
China. For I needed to work to earn a living, Long Hui would have to board
in school from Mondays to Fridays, and came home on weekends. Since his
youth, Long Hui had been very understanding. In school, his grades were
excellent. His teachers always praised him during parents and teachers
meetings. And at home, Long Hui would help in sharing my toils in
household chores.

In 2009, to get Long Hui a complete family, I took Long Hui and together
we came to the United States, and tried to get back with Long Hui’s father.
However, during this time, Long Hui’s father had learned to gamble, and

had a lover. He did not help us at all when we arrived in the United States.

At that time, Long Hui and I did not have a place to live. At nights, we
would sleep on chairs in a relative’s restaurant. We lived under such
conditions for about three to four months. Since I did not know English, I
could just find a job in Chinatown’s restaurants. After | was working, I was
able to find us a shared room rental on Market Street in Chinatown. At last,
Long Hui and I had some private spaces of our own.

Hong Hui was 14 years old in 2009. He was suddenly put into a completely
strange environment. There were no friends, or classmates; plus the
language barrier. But my work was from twelve o’clock at noon to two
o’clock into the night. I had no way in being next to him, The school’s
teacher had told me that Long Hui had not been speaking for a few months
in school. This condition would only improved when he met new friends.
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While we were living in Chinatown, Long Hui’s father would come and see
Long Hui every now and then; however, each time, he and I would get into
arguments. One night, when Long Hui’s father was visiting, and was arguing
with me, he hit me and caused my ear and hand to be swollen. This caused
me to missed work for three days. When Long Hui returned home, and saw
what had happened, he was very angry and wanted to find his father to
reason with him. But I stopped him. The incident affected Long Hui a great
deal, and subdued his enthusiasm in attending college. And during the
midterm in Long Hui’s 12" grade, I had been overworked and my health
needed to have set medical care; he quit school and found work in order to
reduce my burdens.

Long Hui has been my only moral support, in China or when we just arrived
in the United States. No matter what the difficulty, I would continue to hold
for him. If Longgie shall go to jail I will be stupefied, and very afraid. I fear
that I would not be able to stand such pressures. My grandson is just one
year old, and I am of ill health. Plus there is the pandemic, and job
opportunities are less. My daughter in-law cannot and will no be able to
work and care for their baby at the same time. Long Hui has promised me
that he will not do anything wrong again. It is hoped that Your Honor will
show mercy, and give Long Hui a chance. I will do my utmost to ensure
that he will not hang out with those bad people, or do anything illegal.
Case 1:20-cr-00452-RPK Document 45 Filed 06/24/21 Page 60 of 60 PagelD #: 146

RAWKERKA ,

# = Xiu Xiang Fang, #Long Hui Linf9s8%B. AALong Hui MBSE tth1S SA NIRRKA S
=), Long HuiM )\ FwURLABEMRY , RAMKRERRAKA , AARELEME ,
Long Hui] -FIMASESESR, ARMNIRAR. Long HuiM)MRES , EAR RAR
BRRKAEMBA DRM th, MERVHATR , Long huis—HBCKRS PBRHSE,

20094F MATRA SF 48Long Hui-*SSEB MRE , Along Hui— #23 FISH iS BLong Huis
BHZ4. WeLong HibBRBERHKRNABSSATRMRMATIBAA , RNASE NRE
Ae EA.

4a AlLong Hui KAMAE , MERMERRMAEHNRTALL , CIMA TET Sala
A. AARFARM , RRREBAGR-PRENLH. ERERALE-RNAA , REBA
7 RI market Streetk 348 T —*P BIA , Long HUIMRAFS TS ACHMABEA.

20094FLong Hui A144 , HART —ShEMENMM , RARRNEY , MEABSLY
Peas, MAMI SAP FIZBER EIR , RDM Sh. FRO SIMRBK
Long HUJL TF AEFRIZHE , KARE HRA MRF AM KE.

Long HUMES ERNEER AHH MAST EN WR BLong Hui , TASRBARRAS
Ub, A— AiR LLong Hui BS WKAR, RRAET PSH , AHFUTR , HRHRAMSAH
T, URIARDALCH. Long uiBRA PSI PAGES BiC  ARRAILT. RH
FIX FB MLong Hui MOIRA , EMA RIT ST , Long Huik12F RP RA AK
AAKNALQFRARENNBRE , HAT RMRRH AMRF AKL.

Long Hui GK—HMAARE, FRSSEPHRA SHIA AR MRAM , MEHR S AR
ME, AT HRBS RHPA. MR)MRRALS , RAMU , RA, RIARKRTT RAVE
A. BMMFREFIS , RHSARTH , MARAREMAR , LEHMABRD ST. RH
Pik EM AAW LE—- WARMER. LongHuiitARRREFAMBRNSH. BLEE
KAWURA-—H, Along Hui-—AMA , RARKRHSALHREFABRMBEAA , hth
HH 3D BS
